Case 2:10-md-02179-CJB-DPC Document 8963-14 Filed 03/20/13 Page 1 of 2




                   Exhibit 08A
         Case 2:10-md-02179-CJB-DPC Document 8963-14 Filed 03/20/13 Page 2 of 2


Douglas, Charles W
Attachments:         BPFurtherSubmission1-11.doc; ATT00001.txt


-----Original Message-----
From: Holstein, Mark E [mailto:Mark.Holstein@bp.com]
Sent: Friday, January 11, 2013 3:16 PM
To: Michael Juneau; Patrick Juneau; Christine Reitano; Jim Roy; *sherman@hhkc.com; Lynn
Greer; Orran L. Brown
Cc: *keith.moskowitz@snrdenton.com; *Daniel.Cantor@aporter.com; Bloom, Wendy L.;
*jeffrey.lennard@snrdenton.com
Subject: BPFurtherSubmission1-11.doc

Friends - please see attached. Thanks.


***********************************************************
IRS Circular 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we
inform you that any tax advice contained in this communication (including any attachments)
was not intended or written to be used, and cannot be used, by any taxpayer for the purpose
of (1) avoiding tax-related penalties under the U.S. Internal Revenue Code or (2) promoting,
marketing or recommending to another party any tax-related matters addressed herein.

The information contained in this communication is confidential, may be attorney-client
privileged, may constitute inside information, and is intended only for the use of the
addressee. It is the property of Kirkland & Ellis LLP or Kirkland & Ellis International LLP.
Unauthorized use, disclosure or copying of this communication or any part thereof is strictly
prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return e-mail or by e-mail to postmaster@kirkland.com, and destroy
this communication and all copies thereof, including all attachments.
***********************************************************




                                                  1
